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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                        )
AMY HARRIS                              )
100 Industrial Drive                    )
P.O. Box #180                           )
Lawrenceburg, IN 47025                  )
                                        )
                      Plaintiff,        )
                                        )
v.                                      )
                                        )            Civil Action No.
U.S. HOUSE SELECT COMMITTEE             )
TO INVESTIGATE THE JANUARY 6TH )
ATTACK ON THE UNITED STATES             )
CAPITOL, and                            )
                                        )
BENNIE G. THOMPSON, in his official     )
capacity as Chairman of the U.S. House  )
Select Committee to Investigate the     )
January 6th Attack on the United States )
Capitol,                                )
                                        )
                      Defendants.       )
____________________________________)


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                       INTRODUCTION

       1.      On November 24, 2021, the U.S. House Select Committee to Investigate the

January 6th Attack on the United States Capitol (the “House Select Committee”) issued and

served an invasive and sweeping subpoena duces tecum that would compel a third-party

telecommunications company to produce phone records reflecting privileged communications

between a journalist and her confidential sources.

       2.      Amy Harris is an experienced, freelance photojournalist. Her work has been

published in numerous reputable and well-known publications, including the Washington Post,

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Vanity Fair, Rolling Stone, and Time magazine.1 Ms. Harris licenses her photos through

Shutterstock, a global photo agency, and also publishes her photos on her website,

https://www.amyharrisphotos.com/.

       3.       Ms. Harris’ work in the past focused on photographing live music concerts and

festivals. At times, this would include pitching and developing profile stories of different bands

and musicians. When those venues were essentially shuttered during the COVID-19 pandemic

in March 2020, she shifted her focus and began documenting the events of civil and political

unrest unfolding across the country. She began photographing the racial justice protests in the

wake of George Floyd’s murder on May 25, 2020, and later aimed her lens on a wholly different

type of unrest leading up to and following the 2020 presidential election. Beginning with the

George Floyd and Black Lives Matter protests in May 2020, Ms. Harris traveled to 23 cities

where protests occurred, took over 50,000 images, and had her work published by prominent

news outlets.

       4.       The subpoena instructs Verizon to produce, without limitation, all subscriber

information and all call, text messaging, and other records of communications associated with

Ms. Harris’ phone number for a period of almost three months between November 1, 2020 and

January 31, 2021. A redacted version of the subpoena and Verizon’s letter to Ms. Harris advising

her of the subpoena and the time to challenge it are attached hereto as Exhibit A.2

       5.       During the time frame covered by the subpoena, Ms. Harris was actively engaged

in a project documenting the far-right extremist group known as the “Proud Boys” and their

leader, Henry “Enrique” Tarrio. The Proud Boys notoriously came into national consciousness


1
  A complete list of the outlets that have published Harris’ photographs is attached hereto as
Exhibit B.
2
  For Ms. Harris’ security, we have redacted her residential street address and telephone number.

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following comments made by then-President Donald Trump during a September 2020

presidential debate. In the course of chronicling the Proud Boys, Ms. Harris used her personal

cell phone to communicate with confidential and nonconfidential sources in furtherance of that

story and in support of other stories she was working on during the time period covered by the

subpoena.

       6.      Therefore, not only do the telephone records sought by the House Select

Committee intrude on the personal and privileged communications of a private citizen, but they

also seek information sufficient to reveal the identities of Harris’ confidential sources and would

impermissibly intrude on her protected newsgathering activities.

       7.      The subpoena violates the core protections afforded to journalists pursuant to the

First Amendment. Furthermore, it seeks to undermine these fundamental protections without

affording Harris fair notice and an opportunity to challenge its legality by demanding the records

be turned over just two weeks after the subpoena was issued.

       8.      The House Select Committee must be required to articulate in a court of law that

it has exhausted all other sources of the information along with the reasons that the telephone

records it seeks are so critical to its investigations that its discovery demands should be permitted

to proceed unchecked in the face of these substantial constitutional concerns.

                                            PARTIES

       9.      Plaintiff Amy Harris is a syndicated freelance photojournalist, engineer, and

writer. She resides in Lawrenceburg, Indiana.

       10.     Defendant U.S. House Select Committee to Investigate the January 6th Attack on

the United States Capitol (the “House Select Committee”) is a select committee established on

June 30, 2021 by House Resolution 503 (“H. Res. 503”).



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         11.    Defendant Bennie G. Thompson is a member of the U.S. House of

Representatives and Chairman of the House Select Committee. Chairman Thompson signed the

subpoena served on Verizon that seeks Plaintiff’s subscriber information and records of

communications associated with Plaintiff’s phone number. Chairman Thompson is sued in his

official capacity.

                                  JURISDICTION AND VENUE

         12.    This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because this action arises under the United States Constitution and laws of the United States.

         13.    This Court has authority to issue the requested injunctive and declaratory relief

pursuant to 28 U.S.C. §§ 2201 and 2202, and Federal Rule of Civil Procedure 65.

         14.    This Court has personal jurisdiction over the House Select Committee because it

is located and operates in Washington, D.C.

         15.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because the Defendant is

a congressional committee of the United States that resides in this District, and a substantial part

of the events giving rise to this action occurred in this District.

                                   NATURE OF THE ACTION

         A.     Ms. Harris’ Long History as a Freelance Photojournalist

         16.    Amy Harris is a syndicated freelance photojournalist, engineer, and writer. Her

journalistic career began with shooting travel photography, and that work has been displayed in

publications such as National Geographic Books, Fodor’s Travel Guides, Lonely Planet Travel

Guides, JetStar magazine, and Delta Sky Magazine.3




3
    http://www.thetraveladdict.com/

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       17.     In 2008, she photographed her first band at Billboard Live Tokyo. After that, she

began covering live music festivals and concerts across the globe as a freelancer for AP

Images/Associated Press, City Beat Magazine, and others. Her music coverage can be seen in

various publications and websites, including: Rolling Stone, The New York Times, The Los

Angeles Times, In Style, People, Total Guitar, Penthouse, New York Magazine, Glamour, Marie

Claire, Music Radar, Ebony, Hip Hop Nation Magazine, Country Weekly, and Pollstar.4

       18.     Harris holds press credentials from the New York Police Department’s Office of

the Deputy Commissioner, Public Information (“DCPI”), as well as from the United States Press

Agency. See Exhibit D.        Ms. Harris is also a member of National Press Photographers

Association (“NPPA”). Id.

       19.     Many of her photos are available for viewing and licensing on Shutterstock

(https://www.rexfeatures.com/search/?kw=*ahs+protest&js-site-

search_submit=Go&order=newest&iso=GBR&lkw=*ahs&viah=Y&stk=N&sft=&timer=N&req

uester=&iprs=f).

       20.     When the COVID-19 pandemic hit the U.S. in March 2020, live music concerts

and festivals were essentially shuttered, and the ability to travel internationally was curtailed.

       21.     Left without her typical subjects, Harris shifted focus and began documenting the

racial justice protests and events of civil unrest occurring throughout the country in the wake of

George Floyd’s murder on May 25, 2020.

       22.     She also began covering political rallies and protests leading up to and following

the 2020 presidential election. Many of the groups involved in those protests included far-right

extremist groups such as the Proud Boys.

4
http://www.apimages.com/Search?query=%22Amy+Harris%22&ss=10&st=kw&entitysearch=
&toItem=15&orderBy=Newest&searchMediaType=excludecollections

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       23.     By the end of 2020, Harris had captured images of protests and protestors

representing both ends of the political spectrum in 23 cities across the U.S., from Portland,

Oregon, to Washington, D.C.5

       24.     In or around the fall of 2020, and during the course of her photographing the

protests and rallies, Harris crossed paths with Tarrio, a national leader of the far-right group the

Proud Boys. After consulting with her editor at her photo agency, Shutterstock, she pitched

doing a “day-in-the-life type” profile on Tarrio and the Proud Boys. Tarrio agreed to grant her

access, and she began the project on December 7, 2020, in Miami.

       25.     Upon information and belief, Harris’s work documenting Tarrio throughout the

remainder of 2020 earned her Tarrio’s trust as a journalist and, accordingly, the trust of the

members of his group, thus allowing her close access as she visually documented their activities

with her photos.

       B.      Harris Photographed the January 6, 2021 Attack on the U.S. Capitol
               During the Course of Her Coverage of the Proud Boys

       26.     On January 4, 2021, Harris traveled to Washington, D.C. from Cincinnati as part

of her coverage of Tarrio and the Proud Boys.

       27.     Tarrio, who was traveling to Washington, D.C. from Florida, was arrested shortly

after entering the District. He was charged with one misdemeanor count of destruction of

property in connection with the December 12, 2020 burning of a banner stolen from Asbury

United Methodist Church, and two felony counts of possession of high-capacity ammunition

feeding devices discovered after he was arrested and searched.



5
 Attached hereto as Exhibit C is a true and correct copy of an article published on January 7,
2021 in the Cincinnati Enquirer entitled “Cincinnati area photojournalist was at the U.S. Capitol
Wednesday to capture the chaos.”

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       28.     On January 5, 2021, Harris traveled to D.C. Superior Court and took photographs

of Tarrio following his arraignment and release from jail.6

       29.     On January 6, 2020, Harris was downtown to document the various “Stop the

Steal” rallies and election certification protests as part of her story covering the Proud Boys.

While there, she wore several forms of press identification. See Exhibit D.

       30.     Harris was already outside the U.S. Capitol, where Congress was gathered to

formally affirm then-President-elect Biden’s Electoral College victory, when she saw a crowd

approaching the Capitol from the National Mall.

       31.     The day after the attack, Harris told the Cincinnati Enquirer that she witnessed

three men “‘riling up the crowd’” and yelling “‘Let’s take it. Let’s take the Capitol.’”7 She said

she was “‘shocked’” as she witnessed people advancing toward the Capitol building and heard

them calling for more people to come up.8

       32.     At one point, she became separated from the Proud Boys group she was covering

when she tripped and fell into a green mesh barricade that had already been torn down.9 When

she fell, she lost her phone and feared she would be trampled by the crowd pushing toward the

Capitol until someone helped her to her feet. She was pushed forward by the crowd and could

not retreat for fear of being crushed.

       33.     During the course of the attack, Harris shot photos from scaffolding set up for

President Biden’s inauguration and stayed near the lower tiers of the Capitol steps and the

perimeter of the building. Taking photos in the vicinity of some 10 other photojournalists, Harris

6
  A Daily Mail article includes Ms. Harris’ photos, including one of the BLM banner being burned.
https://www.dailymail.co.uk/news/article-9920081/Proud-Boys-leader-burned-BLM-flag-gets-5-months-
jail.html.
7
  https://amp.cincinnati.com/amp/6584086002
8
  Id.
9
  Id.

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heard people saying the Capitol had been breached. She captured images of then-President-

Trump’s supporters clashing with police, scaling a concrete wall, and taking the Capitol’s

exterior.

        34.      She continued to photograph the scene while remaining outside the Capitol

building and left the Capitol area at around 5:45 p.m.

        35.      Harris was without her phone the entire time she was documenting the attack on

the Capitol. She eventually discovered that her phone had been retrieved by one of the Proud

Boys, who had left it for her to pick up at the desk of a Hyatt Hotel in D.C., which she eventually

did later that evening.

        36.      She does not know which member of the Proud Boys found her phone; when

during the course of the attack her phone was found; or where else it may have been taken

throughout the day.

        37.      Harris did not have any expectation or knowledge prior to January 6, 2021, that a

violent attack on the Capitol would occur.

        38.      Harris’s photographs from January 6, 2021 were licensed and published by

several publications and websites, including the Washington Post, Cincinnati Enquirer,

Gothamist, Guardian, and Press and Journal.

        C.       Authority and Activities of the House Select Committee

        39.      The House Select Committee was established June 30, 2021 by H. Res.

503, which sets forth the “purposes” of the House Select Committee. They are:

              a. “To investigate and report upon the facts, circumstances, and causes

relating to the January 6, 2021, domestic terrorist attack upon the United States Capitol

Complex … and relating to the interference with the peaceful transfer of power”;



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             b. “To examine and evaluate evidence … regarding the facts and

circumstances surrounding the domestic terrorist attack on the Capitol and targeted

violence and domestic terrorism relevant to such terrorist attack”; and

             c. “To build upon the investigations of other entities … by reviewing the

investigations, findings, conclusions, and recommendations of other executive branch,

congressional, or independent bipartisan or nonpartisan commission investigations into

the domestic terrorist attack on the Capitol.”

       40.      Additionally, H. Res. 503 establishes three “functions” of the House

Select Committee: (1) to “investigate the facts, circumstances, and causes relating to the

domestic terrorist attack on the Capitol”; (2) to “identify, review, and evaluate the causes

of and the lessons learned from the domestic terrorist attack on the Capitol”; and (3) to

“issue a final report to the House containing such findings, conclusions, and

recommendations for corrective measures …” https://www.congress.gov/bill/117th-

congress/house-resolution/503.

       41.      To accomplish its functions and purpose, H. Res. 503 gives the House

Select Committee specified powers, including the authority to hold hearings, receive

evidence, and issue subpoenas for information and depositions.

       42.      Specifically, “[t]he chair of the Select Committee may authorize and issue

subpoenas pursuant to clause 2(m) of rule XI [of the Rules of the House of

Representatives] in the investigation and study conducted pursuant to” the purposes and

functions of the resolution; “[t]he chair of the Select Committee is authorized to compel

by subpoena the furnishing of information by interrogatory”; and “[t]he chair of the

Select Committee, upon consultation with the ranking minority member, may order the



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taking of depositions, including pursuant to subpoena, by a Member or counsel of the

Select Committee …”

        43.     Since its inception, the House Select Committee has issued a wide range

of subpoenas, including numerous subpoenas seeking the production of documents and

compelled testimony from individual witnesses. See, e.g., Press Release, Bennie G.

Thompson, Chairman, Select Comm. to Investigate the Jan. 6th Attack on the U.S.

Capitol, Select Committee Demands Records Related to January 6th Attack from Social

Media    Companies      (Aug.    27,    2021).     https://january6th.house.gov/news/press-

releases/select-committee-demands-records-related-january-6th-attack-social-media-0.

        44.     In the fall, the House Select Committee issued subpoenas to individuals

with close ties to the former President and/or tied to efforts to overturn the 2020 election

results, instructing them to produce materials and appear at depositions.        See Press

Release, Bennie G. Thompson, Chairman, Select Comm. To Investigate the Jan. 6th

Attack on the U.S. Capitol, Select Committee Subpoenas Individuals Tied to the Former

President in the Days Surrounding January 6th (Sept. 23, 2021); Press Release, Bennie

G. Thompson, Chairman, Select Comm. to Investigate the Jan. 6th Attack on the U.S.

Capitol, Select Committee Subpoenas Additional Witnesses Tied to Efforts to Overturn

Election Results (Nov. 8, 2021); Press Release, Bennie G. Thompson, Chairman, Select

Comm. to Investigate the Jan. 6th Attack on the U.S. Capitol, Select Committee

Subpoenas Former Officials with Close Ties to the Former President (Nov. 9, 2021).

https://january6th.house.gov/news/press-releases.

        45.     The House Select Committee has also issued several rounds of subpoenas

for deposition testimony and records from individuals and groups tied to the events and



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rallies leading up to the January 6th attack on the Capitol, and/or who helped or had

knowledge of the planning and financing of the January 5th and 6th rallies in

Washington, D.C. See Press Release, Bennie G. Thompson, Chairman, Select Comm. to

Investigate the Jan. 6th Attack on the U.S. Capitol, Select Committee Subpoenas

Organizers of Rallies and Events Preceding January 6th Insurrection (Sept. 29, 2021);

Press Release, Bennie G. Thompson, Chairman, Select Comm. to Investigate the Jan. 6th

Attack on the U.S. Capitol, Select Committee Subpoenas Individuals Involved in

Planning and Organizing the Rallies and March Preceding January 6th Attack (Nov. 22,

2021); Press Release, Bennie G. Thompson, Chairman, Select Comm. To Investigate the

Jan. 6th Attack on the U.S. Capitol, Select Committee Subpoenas Groups and Individuals

Linked to Violent Attack on the Capitol on January 6th (Nov. 23, 2021).

       D.      The House Select Committee’s Subpoena to Verizon

       47.     On December 2, 2021, Verizon Security Subpoena Compliance wrote to inform

Ms. Harris that it had received a subpoena duces tecum requiring the production of certain

records associated with her subscriber phone number. She was provided a redacted copy of the

subpoena, which was issued by the House Select Committee (the “Verizon Subpoena”).10

       48.     In that letter, Verizon advised Harris that unless Verizon received a court

document challenging the Verizon Subpoena by December 15, 2021, it would be compelled to

comply with its terms and turn over her records and information to the House Select Committee.

       49.     The Verizon Subpoena seeks subscriber information and call detail records

associated with Harris’s phone number for the period November 1, 2020 to January 31, 2021.



10
  Verizon’s December 2, 2021 letter to Harris forwarding the House Select Committee
Subpoena to Ms. Harris is attached as Exhibit A.

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       50.     The Verizon Subpoena was issued on November 24, 2021 and requested that the

information sought be produced just two weeks later, on December 8, 2021.

       D.      The Verizon Subpoena is Overly Broad and Exceeds the Purposes and
               Functions of the House Select Committee.

       51.     The information sought by the Verizon Subpoena is expansive and invasive.

       52.     Harris has a reasonable expectation of privacy in her personal cell phone data.

       53.     Harris used her cell phone to conduct private and sometimes privileged

conversations with friends and family between November 1, 2020 to January 31, 2021.

       54.     She also used her cell phone to connect with journalistic sources, including

confidential sources that were privileged, between November 1, 2020 to January 31, 2021.

       55.     The subscriber information requested by the Verizon Subpoena demands

subscriber names and contact information and cell phone data associated with Ms. Harris’

personal cell phone number. It encompasses “[a]ll call, message (SMS & MMS), Internet

Protocol (“IP”) and data-connection detail records associated with [Harris’ phone number],

including all phone numbers, IP addresses, or devices that communicated with [Harris’ phone

number] via delivered and undelivered inbound, outbound, and routed calls, messages,

voicemail, and data connections.”

       56.     The private data requested by the Verizon Subpoena can be used to track all of

Harris’ personal communications for a period of more than two months prior to, and

approximately one month after, the January 6, 2021 attack on the Capitol.

       57.     Defendant Bennie Thompson, House Select Committee Chairman, criticized

governmental investigations of journalists when a unit of Customs and Border Protection,

conducted database searches on journalists’ travel, searched for connections to the terrorism

watchlist, and gathered other personal data. “‘If true, this abuse of government surveillance

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powers to target journalists, elected officials and their staff is deeply disturbing,’ Thompson, the

Democratic chairman of the House Homeland Security Committee, said in a statement. ‘The

United States government has an obligation to protect all citizens’ right to privacy and freedom

of speech. There must be accountability and protections in place to ensure that such incidents

never   occur.’”    https://news.yahoo.com/deeply-disturbing-house-homeland-security-chair-on-

report-of-cbp-investigating-journalists-and-elected-officials-223142505.html.

        58.     The Verizon Subpoena is overly broad with respect to time frame, and contains no

limitations seeking to preserve applicable privileges or prevent violations of Harris’

constitutional rights, including her First Amendment rights as a journalist, her protection under

the D.C. Shield law, and her Fourth Amendment right against unlawful search and seizure.

        59.     It also exceeds the authorized purposes and functions of the House Select

Committee pursuant to H. Res. 503.

        E.      Harris’ Cell Phone Data is Protected by the Reporter’s First
                Amendment Privilege, Federal Statutory and Common Law, and the
                District of Columbia’s Press Shield Law.

        60.     The First Amendment of the United States Constitution and the reporter’s

privilege arising under federal common law protect against the compelled disclosure of

information received by journalists in the course of their newsgathering activities and,

particularly, the identity of confidential sources. These protections reflect a paramount public

interest in the existence and maintenance of a vigorous, aggressive, and independent press

capable of furthering a robust, unfettered debate over controversial matters and are based on the

firm recognition that effective newsgathering depends significantly on journalists’ ability to

secure the confidence and trust of their sources.




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       61.     “The First Amendment guarantees a free press primarily because of the important

role it can play as ‘a vital source of public information.’ . . . But the press’ function as a vital

source of information is weakened whenever the ability of journalists to gather news is

impaired. Compelling a reporter to disclose the identity of a source may significantly interfere

with [the press’] news gathering ability.” Zerilli v. Smith, 656 F.2d 705, 710-11 (D.C. Cir. 1981)

(citations and footnotes omitted); Lee v. Dep’t of Justice, 413 F.3d 53, 59-60 (D.C. Cir. 2005).

       62.     The United States Department of Justice’s Guidelines on gathering information

from members of the news media explains that the “Department views the use of certain law

enforcement tools, including subpoenas [and] search warrants to seek information from, or

records of, non-consenting members of the news media as extraordinary measures, not standard

investigatory practices.” 28 C.F.R. § 50.10(a)(3). The Guidelines specifically note that this

policy applies to the use of subpoenas to “obtain from third parties ‘communications records’ or

‘business records’ of members of the news media. Id., § 50.10(b)(2)(i).

       63.     The Guidelines direct law enforcement authorities to use such tools only with

authorization from the highest-ranking DOJ officials and when the information is “essential” and

“after all reasonable alternative attempts have been made to obtain the information from

alternative sources; and after negotiations with the affected member of the news media have been

pursued and appropriate notice to the affected member of the news media has been provided.”

Id.

       64.     In 2020, the Trump Administration’s Justice Department “secretly sought

reporters’ phone and email records in an effort to identify the sources of leaks” and “has been

under fire for its aggressive pursuit of leakers . . . after officials notified The Washington Post,

CNN, and the New York Times that prosecutors had secretly sought to obtain reporters’ phone



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and email records in 2020. https://www.washingtonpost.com/national-security/adam-schiff-leak-

investigation-eric-swalwell/2021/06/11/ee935590-ca58-11eb-81b1-34796c7393af_story.html.

(emphasis added). In response to this revelation, “President Biden has vowed he would not allow

the Justice Department to take reporters’ records.”        Id. The Trump Administration Justice

Department also “sought data on two lawmakers from California who were prominent critics of

President Donald Trump — Rep. Adam B. Schiff, then the panel’s ranking Democrat and now its

chairman, and Rep. Eric Swalwel.” Id.

         65.     On July 19, 2021, the Biden Administration’s Attorney General, Merrick Garland,

announced a broad policy against using subpoenas, warrants or court orders to seize or obtain

reporters’ records: “‘The Department of Justice will no longer use compulsory legal process for

the purpose of obtaining information from or records of members of the news media acting

within the scope of news-gathering activities,’ Mr. Garland wrote to federal prosecutors in a

three-page policy memo [https://int.nyt.com/data/documenttools/attorney-general-memo-re-

compulsory-process/862efd19514d7250/full.pdf]. He added that the department would also

revise          its      regulations        to          reflect     the        new         limit.”

https://www.nytimes.com/2021/07/19/us/politics/reporter-records-justice-department.html.

         66.     The Verizon Subpoena would require the production of cell phone data related to

and within the scope of Harris’ newsgathering activities, and would necessarily identify Harris’

journalistic sources, including confidential sources, she was in contact with between November

1, 2020 to January 31, 2021.

         67.     Demanding journalists’ telephone records that reveal confidential sources from

third parties is tantamount to demanding the records from the journalists themselves. A

journalist’s promise to maintain confidentiality would be meaningless if a source’s identity could



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be discovered without any legal challenge. The potential exposure of confidential sources will

prevent Ms. Harris from credibly promising confidentiality to future sources. The exposure of

sources could also lead to threats against her physical safety, actual attacks, and both in-person

and online harassment and attempts at intimidation.

       68.     The commitment to protecting journalists’ newsgathering activities from

disclosure is also embodied in the District of Columbia’s Free Flow of Information Act, D.C.

Code § 16-4701 et seq., which protects both the identity of sources and unpublished information

collected or prepared in the newsgathering process. Congress has also recognized the importance

of journalistic privilege. In adopting the federal Privacy Protection Act of 1980, 42 U.S.C.

§ 2000-aa, which restricted the search or seizure of journalists’ documentary materials, a Senate

Report recognized the “unique needs of the journalism profession, and the unique role that the

press is accorded in our constitutional framework.” S. Rep. No. 96-874, at 22 (1980). The Report

announced Congress’ commitment “to the principle that the government ought to employ the

least intrusive, practicable means to secure information that is necessary for criminal

proceedings” and made clear that Congress’ intention in enacting the law was to ensure that

members of the press have an opportunity to appear in court before the government may obtain

materials reflecting their newsgathering process. Id.

       69.     Therefore, the Verizon Subpoena should be quashed, and the House Select

Committee enjoined from further efforts to subpoena Ms. Harris, her records from third-party

sources, or to seek her testimony in this investigation.        Alternatively, the House Select

Committee should be — and to ensure a vigorous, aggressive, and independent press must be —

required to articulate here the reasons that the telephone records it seeks are so critical to its




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investigations that its discovery demands should prevail over this Nation’s longstanding

commitment to protecting the independence and vitality of the press.

                                             COUNT I

               (Harris’ Cell Phone Data is Protected by the First Amendment)

       70.     Plaintiff incorporates by reference and realleges the foregoing factual allegations

in paragraphs 1 through 69 as if fully set forth herein.

       71.     The D.C. Circuit recognizes a qualified First Amendment privilege in civil cases

against compelled disclosure of sources and other unpublished information. Goldberg v. Amgen,

Inc., 123 F.Supp.3d 9 (D.D.C. 2015). “The Court of Appeals has long recognized that, in civil

cases, journalists enjoy a qualified privilege against compelled disclosure of their First

Amendment activities.” Goldberg, 123 F.Supp.3d at 15, citing Carey v. Hume, 492 F.2d 631,

636 (D.C. Cir. 1974); Zerilli v. Smith, 656 F.2d 705, 712 (D.C. Cir. 1981).

       72.     This qualified privilege extends to both confidential information and unpublished,

nonconfidential information. Peck v. City of Boston (In re Slack), 768 F. Supp. 2d 189, 194

(D.D.C. 2011).

       73.     In either case, the court applies a two-prong test to determine whether the

privilege is overcome: (1) the party seeking the information has exhausted all reasonable,

alternative means of identifying the source; and (2) the information goes to the heart of that

party’s case. See, e.g., Lee v. Dep’t of Justice, 413 F.3d 53 (D.C. Cir. 2005).

       74.     Some courts apply a third factor as well, balancing the public’s interest in

protecting the newsgathering process against the private interest in disclosure. Compare

Grunseth v. Marriott Corp., 868 F. Supp. 333, 335-36 (D.D.C. 1994), with Lee v. Dep’t of

Justice, 401 F. Supp. 2d 123 (D.D.C. 2005).



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       75.     During the time frame of the Verizon Subpoena, Harris was documenting Tarrio

and the Proud Boys and used her phone to communicate with confidential and nonconfidential

sources in support of that story. Therefore, the telephone records sought by Defendants contain

information sufficient to reveal the identities of Harris’ confidential sources.

       76.     The information sought by the Verizon Subpoena would also impermissibly

intrude on her protected newsgathering activities, deprive her of future opportunities to obtain

confidential information from confidential sources, and expose her to possible threats of bodily

harm from those whose numbers would be so exposed by disclosure of her call detail records.

       77.     Harris’ telephone records subject to the Verizon Subpoena are therefore protected

by the First Amendment of the United States Constitution, and the House Select Committee

impermissibly seeks to circumvent these protections without any showing that the privilege

against disclosure should be overcome.

                                            COUNT II

 (Harris’ Cell Phone Data is Protected by the Federal Common Law Reporter’s Privilege)

       78.     Plaintiff incorporates by reference and realleges the foregoing factual allegations

in paragraphs 1 through 77 as if fully set forth herein.

       79.     The qualified common law reporter’s privilege stems from Rule 501 of the

Federal Rules of Evidence, which authorizes federal courts to develop evidentiary privileges in

federal question cases. Shoen v. Shoen, 48 F.3d 412, 414 (9th Cir. 1995) (As we noted in Shoen

I, all but one of the federal circuits to address the issue have interpreted Branzburg v. Hayes, 408

U.S. 665 (1972), as establishing a qualified privilege for journalists against compelled disclosure

of information gathered in the course of their work”). Recognition of a federal common law

reporter’s privilege in this Circuit is supported by the fact that 49 states and the District of



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Columbia recognize at least a qualified reporter’s privilege; the federal courts have routinely

limited discovery of sources in both civil and criminal contexts; and Justice Department

guidelines for issuing subpoenas to reporters establish a federal policy of protecting

newsgathering.

        80.     During the time frame of the Verizon Subpoena, Harris was documenting Tarrio

and the Proud Boys and used her phone to communicate with confidential and nonconfidential

sources in support of that story. Therefore, the telephone records sought by Defendants contain

information sufficient to reveal the identities of Harris’ confidential sources.

        81.     The information sought by the Verizon Subpoena would also impermissibly

intrude on her protected newsgathering activities, deprive her of future opportunities to obtain

confidential information from confidential sources, and in the context of covering violent

protests,11 expose her to possible bodily harm and harassment from those whose numbers would

be so exposed by disclosure of her call detail records.

        82.     Harris’ telephone records subject to the Verizon Subpoena are therefore protected

by the reporter’s privilege under federal common law, and the House Select Committee

impermissibly seeks to circumvent these protections without any showing that the privilege

against disclosure is overcome.

                                               COUNT III

         (Harris’ Cell Phone Data is Protected by the Free Flow of Information Act,
                                D.C. Code § 16-4701 et seq.)

        83.     Plaintiff incorporates by reference and realleges the foregoing factual allegations

in paragraphs 1 through 82 as if fully set forth herein.


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  See “D.C. Attorney General sues the Proud Boys, Oath Keepers over the Jan. 6 attack,”
https://www.washingtonpost.com/national-security/racine-jan-6-lawsuit/2021/12/14/4e581d00-5c51-11ec-bda6-
25c1f558dd09_story.html

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       84.     The District of Columbia’s Free Flow of Information Act, D.C. Code § 16-4701 et

seq., protects newsgathering materials from forced disclosure, including the identity of sources

and unpublished information collected or prepared in the newsgathering process.

       85.     While the protection for unpublished information is qualified under the Act, the

protection for the identity of sources is absolute. D.C. Code §§ 16-4702 and 16-4703.

       86.     During the time frame of the Verizon Subpoena, Harris was a journalist acting in

a news gathering and news disseminating capacity. She was documenting Tarrio and the Proud

Boys and used her phone to communicate with confidential and nonconfidential sources in

support of that story. Therefore, the telephone records sought by the House Select Committee

contain information sufficient to reveal the identities of Harris’ confidential sources and are

absolutely protected.

       87.     The information sought by the Verizon Subpoena would also impermissibly

intrude on her protected newsgathering activities while acting as a journalist, and the House

Select Committee impermissibly seeks to circumvent these protections without any showing that

the protections against disclosure contained in the Act are overcome.

                                            COUNT IV

     (The Verizon Subpoena Violates the Due Process Clause of the Fifth Amendment)

       88.     Plaintiff incorporates by reference and realleges the foregoing factual allegations

in paragraphs 1 through 87 as if fully set forth herein.

       89.     The information sought by the Verizon Subpoena is protected by the reporter’s

First Amendment privilege, federal statutory and common law, and the District of Columbia’s

press shield law.




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       90.     By issuing the Verizon Subpoena directly to Verizon and requesting that records

be produced just two weeks after issuance, the House Select Committee attempts to circumvent

this Nation’s longstanding commitment to protecting the independence and vitality of the press.

       91.      In doing so, the House Select Committee essentially guaranteed that Harris

would be deprived of fair notice and an opportunity to challenge the legality of the Verizon

Subpoena, in violation of the Due Process clause of the Fifth Amendment.

                                             COUNT V

                  (The Verizon Subpoena Violates the Fourth Amendment)

       92.     Plaintiff incorporates by reference and realleges the foregoing factual allegations

in paragraphs 1 through 91 as if fully set forth herein.

       93.     The Fourth Amendment enumerates the right of private individuals to be free

from unreasonable search and seizure by the government into their persons, houses, papers, and

effects. It also protects a person’s reasonable privacy expectations. Katz v. United States, 389

U.S. 347, 351 (1967).

       94.     The fact that a third party, such as Verizon, at least temporarily stores a person’s

cell phone data does not alter her expectation or its reasonableness. Carpenter v. United States,

138 S. Ct. 2206, 2217 (2018).

       95.     If the government, including the House Select Committee, seeks to obtain

documents or data protected by the Fourth Amendment, it must be obtained by consent or

otherwise authorized by law. Cf. Riley v. California, 573 U.S. 373 (2014). Harris has not

provided her consent for Verizon to produce her cell phone data to the House Select Committee.

       96.     For the House Select Committee to subpoena Verizon for all of Harris’ personal

and journalistic cell phone data over the course of almost three months is unreasonable.



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       97.     Such a request is so broad both temporally and with respect to the scope of the

data sought, that the House Select Committee exceeds any of its lawfully authorized purposes or

functions pursuant to H. Res. 503.

       98.     As the subpoena in question exceeds the lawfully authorized purpose of the House

Select Committee, full compliance with such subpoenas would violate Harris’ Fourth

Amendment protection against unlawful search and seizure. The Verizon Subpoena is thus

invalid and unenforceable.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her

favor and provide the following relief:

       (a)     A declaration that the cell phone data sought by the Verizon Subpoena is

               protected by the First Amendment, the federal common law reporter’s privilege,

               and the District of Columbia’s Free Flow of Information Act, D.C. Code § 16-

               4701 et seq., and enjoining the House Select Committee from obtaining or

               reviewing such cell phone data;

       (b)     In the alternative, a declaration that the House Select Committee may not obtain

               or review the telephone records of Ms. Harris until such time as this Court has had

               an opportunity to consider whether those records are protected against compelled

               disclosure, and an injunction prohibiting the House Select Committee from

               seeking such information concerning Ms. Harris until this Court so orders;

       (c)     A declaration that the Verizon Subpoena violates the Due Process Clause of the

               Fifth Amendment;




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      (d)     A declaration that the Verizon Subpoena is overly broad and violates Ms. Harris’

              Fourth Amendment right to be free from unreasonable search and seizure;

      (e)     An award to Plaintiff of her reasonable costs and attorney’s fees in this action;

              and

      (f)     Such other and further relief in favor of Plaintiff as may be just and proper.


                                              By her attorneys,

                                              /s/ John D. Seiver

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Dated: December 15, 2021.




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